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                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

    EARLANDO SAMUEL,                                                     CIVIL ACTION
                 Plaintiff,

                   v.

    THE DELAWARE COUNTY HOUSING                                          NO. 22-02451
    AUTHORITY, LAURA BLACKBURN,
    DAWN WARE, CHRISTINA PRO,
    INGERMAN PROPERTY
    MANAGEMENT, RASHIDA SMITH,
    RYANN WILLIAMS, NEFERTITI
    RIVERS, TERRI HARDIN, GREG
    WARD, and CATHERINE CUENY,
                    Defendants.

                                                    ORDER

         AND NOW, this 27th day of December, 2022, it is hereby ORDERED that pro se

Plaintiff Earlando Samuel’s Motions to Have the U.S. Marshals Make Service (ECF Nos. 23 &

29) are DISMISSED as MOOT. 1



                                                               BY THE COURT:


                                                               /s/Wendy Beetlestone, J.

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                                                               WENDY BEETLESTONE, J.




1
 Plaintiff’s motions request that the U.S. Marshals Service be directed to serve Defendants Catherine Cueny and
Laura Blackburn. Although Defendants Cueny and Blackburn have not been served, they filed a Motion to Dismiss
Plaintiff’s Complaint under Federal Rule of Civil Procedure 12(b)(6). ECF No. 28. Cueny and Blackburn’s Rule 12
motion does not raise objections to defective service of process and therefore waives potential objections to
defective service as to those Defendants, rendering Plaintiff’s motions moot. See Fed. R. Civ. P. 12(g), (h); Govt. of
V.I. v. Sun Island Car Rentals, Inc., 819 F.2d 430, 433 (3d Cir. 1987) (“Under Rule 12(h) of the Federal Rules of
Civil Procedure, defective service of process is waived if it is not challenged in the first defensive pleading.”).
